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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

TAMI BRYAN,                               )
                                          )
        Plaintiff,                        )
v.                                        )        CASE NO. 2:06-cv-57-MEF
                                          )
MEADOWCRAFT, INC., et al.,                )
                                          )
        Defendants.                       )

                                     ORDER

        It is hereby ORDERED that the pretrial conference set for April 26, 2007 is

rescheduled for April 19, 2007 in the Chambers of the undersigned, United States

Courthouse, One Church Street, A-300, Montgomery, Alabama.

        DONE this the 1st day of November, 2006.




                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
